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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 GROOMS HAULING, LLC, et al.,                        :
                                                     :
                 Plaintiffs,                         :
                                                     :   CIVIL ACTION
                         v.                          :
                                                     :   No. 18-5405
 CORPORAL LOUIS ROBINSON, et al.,                    :
                                                     :
                 Defendants.                         :


                  DEFENDANTS’ ANSWER TO AMENDED COMPLAINT
                         WITH AFFIRMATIVE DEFENSES

       Defendants, Louis Robinson (“Robinson”), Patrick Fetterman (“Fetterman”), and

William McCardle (“McCardle”), by their undersigned counsel, hereby answer Plaintiffs’

Amended Complaint, as follows:

       1.      Admitted on information and belief.

       2.      Admitted on information and belief.

       3.      Admitted on information and belief.

       4.      Admitted on information and belief.

       5.      Defendants are without knowledge or information sufficient to form a belief as to

the truth of this paragraph.

       6.      Admitted in part, denied in part. It is admitted only that Robinson is a white male.

The remainder of this paragraph is denied as containing multiple conclusions of law to which no

response is required.

       7.      Admitted in part, denied in part. It is admitted only that Fetterman is a white male.

The remainder of this paragraph is denied as containing multiple conclusions of law to which no

response is required.

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       8.      Admitted in part, denied in part. It is admitted only that McCardle is a white male.

The remainder of this paragraph is denied as containing multiple conclusions of law to which no

response is required.

       9.      Denied as stated.

       10.     Denied as a conclusion of law to which no response is required.

       11.     Denied as a conclusion of law to which no response is required.

       12.     Denied as a conclusion of law to which no response is required.

       13.     Denied as a conclusion of law to which no response is required.

       14.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of this paragraph.

       15.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of this paragraph.

       16.     Denied as stated.

       17.     Denied.

       18.     Denied.

       19.     Denied.

       20.     Denied.

       21.     Denied as stated.

       22.     Denied.

       23.     Denied.

       24.     Denied.

       25.     Admitted in part, denied in part. It is admitted only that Fetterman informed Mr.

Grooms of the violation. Any allegation that this statement came after the alleged acts or

statements appearing in the preceding paragraphs is denied.

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       26.     Admitted in part, denied in part. It is admitted only that Mr. Grooms could not

produce the document at issue in this paragraph. Any allegation of “validity” is denied as stating

a conclusion of law to which no response is required.

       27.     Denied.

       28.     Denied.

       29.     Denied as stated.

       30.     Admitted.

       31.     Denied.

       32.     Denied.

       33.     Denied.

       34.     Denied.

       35.     Admitted in part, denied in part. It is admitted only that Fetterman issued a

citation to Mr. Grooms. The remaining averments of this paragraph are denied.

       36.     Admitted on information and belief.

       37.     Denied.

       38.     Denied.

       39.     Admitted in part, denied in part. It is admitted only that Mr. Grooms spoke to

Robinson by phone. It is denied that Robinson was located in Harrisburg. Defendants are without

knowledge or information sufficient to form a belief as to Mr. Grooms’ reasons for calling.

       40.     Admitted in part, denied in part. It is admitted only that Robinson is a Corporal.

The remaining averments of this paragraph are denied.

       41.     Denied as stated. By way of further answer, although Mr. Grooms claimed “that

he was in compliance,” such a claim is of no consequence.

       42.     Denied.

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       43.     Denied.

       44.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of this paragraph.

       45.     Admitted on information and belief.

       46.     Denied.

       47.     Denied as stated.

       48.     Denied.

       49.     Denied.

       50.     Denied.

       51.     Admitted.

       52.     [omitted by Plaintiffs]

       53.     [omitted by Plaintiffs]

       54.     Admitted on information and belief.

       55.     Denied as stated. By way of further answer, Robinson’s viewing of the dashboard

was in connection with the truck’s low air warning.

       56.     Denied.

       57.     Admitted.

       58.     This paragraph purports to summarize the contents of traffic citations, which are

documents that speak for themselves; any characterizations inconsistent therewith are denied.

       59.     This paragraph purports to summarize the contents of a writing, which speaks for

itself; any characterizations inconsistent therewith are denied.

       60.     Denied.

       61.     Admitted.

       62.     Denied as stated.

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        63.    Denied.

                              COUNT I – Equal Protection (Race)

        64.    Defendants incorporate the preceding paragraphs by reference as if set forth in

full herein.

        65.    Denied as a conclusion of law to which no response is required.

        66.    Denied as a conclusion of law to which no response is required. To the extent this

paragraph is deemed factual in nature, it is denied.

        67.    Denied as a conclusion of law to which no response is required.

        68.    Denied as a conclusion of law to which no response is required.

                            COUNT II – Equal Protection (Gender)

        69.    Defendants incorporate the preceding paragraphs by reference as if set forth in

full herein.

        70.    Denied.

        71.    Denied.

        72.    Denied.

        73.    Denied.

        74.    Denied as a conclusion of law to which no response is required.

        75.    Denied as a conclusion of law to which no response is required.

        76.    Denied as a conclusion of law to which no response is required.

                         COUNT III – “Violation of 42 U.S.C. § 1983”

        77.    Defendants incorporate the preceding paragraphs by reference as if set forth in

full herein.

        78.    Denied as a conclusion of law to which no response is required.

        79.    Denied.

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        80.    Denied as a conclusion of law to which no response is required.

        81.    Denied as a conclusion of law to which no response is required.

                                   COUNT IV – Conspiracy
        82.    Defendants incorporate the preceding paragraphs by reference as if set forth in

full herein.

        83.    Denied.

        84.    Denied.

        85.    Denied.

        86.    Denied as a conclusion of law to which no response is required.

        87.    Denied as a conclusion of law to which no response is required.

        88.    Denied as a conclusion of law to which no response is required.

        89.    Denied as a conclusion of law to which no response is required.

        90.    Denied as a conclusion of law to which no response is required.

                             COUNT V – State Equal Protection
        91.    Defendants incorporate the preceding paragraphs by reference as if set forth in

full herein.

        92.    Denied as a conclusion of law to which no response is required.

        93.    Denied as a conclusion of law to which no response is required.

        94.    Denied as a conclusion of law to which no response is required.

        95.    Denied as a conclusion of law to which no response is required.

        WHEREFORE, Defendants Louis Robinson, Patrick Fetterman, and William McCardle

respectfully request that Plaintiffs’ Amended Complaint be dismissed and that judgment be

entered in their favor.




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                               FIRST AFFIRMATIVE DEFENSE

       Count III of the Amended Complaint fails to state an independent claim upon which

relief can be granted.

                             SECOND AFFIRMATIVE DEFENSE

       Count V of the Amended Complaint fails to state a claim upon which relief can be

granted, as there is no private cause of action for damages under the Pennsylvania Constitution.

                              THIRD AFFIRMATIVE DEFENSE

       Defendants’ actions, if any, were taken for legitimate, nondiscriminatory reasons.

                             FOURTH AFFIRMATIVE DEFENSE

       Defendants are entitled to Eleventh Amendment immunity.

                              FIFTH AFFIRMATIVE DEFENSE

       Defendants are entitled to qualified immunity.

                              SIXTH AFFIRMATIVE DEFENSE

       State sovereign immunity bars Plaintiffs’ state law claims.


       WHEREFORE, Defendants Louis Robinson, Patrick Fetterman, and William McCardle

respectfully request that Plaintiffs’ Amended Complaint be dismissed and that judgment be

entered in their favor.

                                                     Respectfully submitted,

                                                     JOSH SHAPIRO
                                                     Attorney General

 Date: April 10, 2019                      By:       /s/ Matthew Skolnik
                                                         Matthew Skolnik
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                                CERTIFICATE OF SERVICE


       I, Matthew Skolnik, hereby certify that the foregoing Defendants’ Answer to Amended

Complaint has been filed electronically on April 10, 2019 and is available for viewing and

downloading from the Court’s Electronic Case Filing system by all counsel of record.



                                              By:   /s/ Matthew Skolnik
                                                    Matthew Skolnik
                                                    Deputy Attorney General




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